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                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                 WILMINGTON DIVISION

   IN RE:                                                                   CASE NO:

   JOYCE ANN FRINK                                                          16-00093-5-SWH

   DEBTOR                                                                   CHAPTER 7
                                                   )
   ALGERNON L. BUTLER, III, Chapter 7              )
   Trustee in Bankruptcy for Joyce Ann Frink,      )
                                                   )
                         Plaintiff,                )
                                                   )
                                                          ADVERSARY PROCEEDING NO.:
   vs.                                             )
                                                   )
   JOYCE ANN FRINK,                                )
                                                   )
                         Defendant.                )
                                                   )

                       COMPLAINT FOR REVOCATION OF DISCHARGE


         NOW COMES Algernon L. Butler, III, as Chapter 7 Trustee for the bankruptcy estate of
  Joyce Ann Frink, by and through counsel, and complaining of the Defendant alleges and says as
  follows:

                           PARTIES, JURISDICTION AND VENUE

         1.     On January 7, 2016 (the “Petition Date”), Joyce Ann Frink (formerly known as
  Joyce Keel and/or Joyce Frink Campbell and hereinafter, the “Debtor” and/or “Defendant”) filed
  with the U.S. Bankruptcy Court for the Eastern District of North Carolina (the “Bankruptcy
  Court”) a voluntary petition for relief under Chapter 7 of Title 11 of the United States Code, 11
  U.S.C. § 101 et seq. (the “Bankruptcy Code”), Case No. 16-00093-5-SWH.

         2.     Algernon L. Butler, III (the “Trustee” and/or the “Plaintiff”) has been duly
  appointed and is serving as the Chapter 7 Trustee in the Debtor’s bankruptcy case.

        3.      Upon information and belief, the Defendant is a citizen and resident of Horry
  County, South Carolina.

         4.     The Court has jurisdiction pursuant to 28 U.S.C. §§ 151, 157 and 1334. The
  Court has the authority to hear this matter pursuant to the General Order of Reference entered
  August 3, 1984, by the United States District Court for the Eastern District of North Carolina.

         5.     This matter is a core proceeding pursuant to 28 U.S.C. § 157.
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        6.      Venue in this matter is proper before the Bankruptcy Court pursuant to 28 U.S.C.
  §§ 1408 and 1409.

                                  GENERAL ALLEGATIONS

                       The Settlement Proceeds and Bankruptcy Planning

          7.     On or around April 16, 2012, the Debtor retained the law firms of Ferrer, Poirot &
  Wansbrough (the “Ferrer Firm”) and the law firm of Aylstock, Witkin, Kreis & Overholtz (the
  “Aylstock Firm”) to represent her in connection with a product liability claim (the “Product
  Liability Claim”) arising out medical problems and procedures related to the Debtor’s use of a
  defective type II diabetes drug marketed and sold as Actos (pioglitazone), Actosplus Met,
  Actosplus Met XR, and/or Duetact (hereinafter “Actos”).

         8.      On June 11, 2014, the Debtor, through the Aylstock Firm as her counsel, filed a
  complaint in the U.S. District Court for the Western District of Louisiana which case is entitled
  Myers v. Takeda Pharmaceuticals USA, Inc. (In re: Actos Products Liability Litigation), Civil
  Action No.: 6:14-cv-1166 (the “Civil Action”) seeking damages related to the Product Liability
  Claim. A copy of the complaint in the Civil Action is attached hereto as EXHIBIT A.

          9.     The Civil Action asserts and seeks to recover from the defendants compensatory
  damages, including medical expenses and economic loss, exemplary damages, punitive damages,
  costs, and attorneys fees, pursuant to the following cases of action: Negligence; Strict Products
  Liability – Failure to Warn; Strict Products Liability – Defective Design; Breach of Express
  Warranty; Breach of Implied Warranty for a Particular Purpose; Breach of Implied Warranty of
  Merchantability; Fraud; Fraudulent Concealment; Negligent Misrepresentation; and Consumer
  Fraud and Deceptive Trade Practices.

         10.    On or around May 1, 2015, the Aylstock firm informed the Debtor that the
  defendants and the committee of plaintiffs’ counsel involved in the Civil Action had reached an
  agreement to resolve claims against the defendants in the Civil Action (the “Settlement
  Program”), and that the Debtor, in exchange for her participation in the Settlement Program,
  would receive an individual settlement offer related to the Product Liability Claim (the
  “Settlement Proceeds”). A copy of a letter dated May 1, 2015 from the Aylstock Firm to the
  Debtor informing her about the Settlement Program is attached hereto as EXHIBIT B.

         11.      On or around June 3, 2015, the Aylstock Firm informed the Debtor that the
  defendants in the Civil Action had agreed, pursuant to the Settlement Program, to pay
  approximately $2.4 billion to settle approximately 9,000 to 10,500 claims related to injuries
  caused by Actos. The Aylstock Firm further informed the Debtor that the actual amount of the
  Settlement Proceeds was unknown, but that the average settlement award would be between
  $200,000.00 and $266,000.00 with some awards worth over $1,000,000.00. A copy of a letter
  dated June 3, 2015 from the Aylstock Firm to the Debtor informing her about the Settlement
  Proceeds is attached hereto as EXHIBIT C.

         12.    Upon information and belief, the value of the Settlement Proceeds was dependent
  on the number of participants and claims submitted in the Settlement Program and the individual

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  issues in the Debtor’s case including the amount of Actos she ingested and information contained
  in her medical records.

         13.    Upon information and belief, the value of the gross Settlement Proceeds is
  approximately $245,709.45

          14.     On or around June 10, 2015, the Debtor executed before a notary and delivered to
  the Aylstock Firm a “Settlement Program Consent Form” in which the Debtor agreed to
  participate in the Settlement Program, waive her right to continue to pursue a lawsuit, and accept
  the value of the Settlement Proceeds as determined pursuant to the Settlement Program. A copy
  of the Settlement Program Consent Form is attached hereto as EXHIBIT D.

         15.    On July 24, 2015, the Debtor received a briefing from an approved credit
  counseling agency pursuant to 11 U.S.C. § 109(h).

          16.    Upon information and belief, in or around late September 2015, the Debtor sought
  legal advice from and had an initial consultation with Christopher D. Lane, Esq. regarding a
  potential bankruptcy filing and based on that consultation, agreed to retain Christopher D. Lane,
  Esq. to analyze her financial situation and prepare and file her bankruptcy petition, schedules and
  statement of financial affairs.

         17.     On November 14, 2015 the Debtor executed and delivered to the Aylstock Firm a
  “Bankruptcy Questionnaire” which requested information about prior bankruptcy filings. The
  Debtor stated that she had filed a Chapter 13 bankruptcy in the Bankruptcy Court on January 4,
  2004 and had received a discharge in June 24, 2004. A copy of the Bankruptcy Questionnaire is
  attached hereto as EXHIBIT E.

         18.     On January 6, 2016 (the date immediately preceding the Petition Date), the
  Debtor executed and delivered to the Aylstock Firm an Actos Resolution Program Claim Form
  providing information related to the Product Liability Claim and a certification that she had not
  been “a party in a bankruptcy action seeking bankruptcy protection.” A copy of the Debtor’s
  Actos Resolution Program Claim Form is attached hereto as EXHIBIT F.

          19.    On January 7, 2016, the Debtor filed with the Bankruptcy Court her voluntary
  petition under Chapter 7 of the Bankruptcy Code commencing this case.

         20.    Upon information and belief, prior to the Petition Date, the Debtor fulfilled all
  requirements to participate in the Settlement Program and was eligible to receive the Settlement
  Proceeds.

          21.     The Product Liability Claim, the Civil Action, and the Settlement Proceeds were
  interests of the Debtor in property as of the Petition Date.

                    Debtor’s Intended Disposition of the Settlement Proceeds

         22.    Upon information and belief, in or around July or August 2016, after discovering
  that she was eligible to receive the Settlement Proceeds, the Debtor decided to purchase two


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  parcels of real property respectively located in Bladen and Columbus County, North Carolina
  and to lease the parcels to third parties in exchange for rental income.

         23.    Upon information and belief, in order to partially fund the purchase of real
  property in Bladen and Columbus County, North Carolina, on or around August 11, 2015, the
  Debtor entered into a contract with US Claims Opco LLC (“US Claims”) purportedly to sell to
  US Claims a portion of the Settlement Proceeds or to give US Claims a security interest in a
  portion of the Settlement Proceeds (the “US Claims Transfer”) in exchange for a sum of
  approximately $25,000.00.

         24.     The US Claims Transfer was not made in the ordinary course of the Debtor’s
  business or financial affairs and was an unusual transaction for the Debtor.

         25.     On August 17, 2015, $24,965.00 was deposited into the Debtor’s checking
  account held at Santee Cooper Credit Union (the “SCCU Account”).

         26.     Upon information and belief, the source of the $24,965.00 deposited into the
  SCCU Account on August 17, 2015 was the payment by US Claims to the Debtor as
  consideration for the US Claims Transfer (the “US Claims Funds”).

         27.    Upon information and belief, the Debtor intended to use the US Claims Funds and
  the balance of the Settlement Proceeds to purchase real property in Bladen and Columbus
  Counties, North Carolina.

         28.   On August 22, 2015, the Debtor entered into a contract with Brian and Gina
  Browning to purchase real estate located in Columbus County, North Carolina for $112,900.00
  (the “Columbus County Property”).

         29.     Upon information and belief, the Debtor intended to use the Columbus County
  Property as a source of rental income.

         30.    The Debtor’s purchase of the Columbus County Property was owner financed and
  required from the Debtor a down payment of $7,000.00, monthly payments of $825.00 per
  month thereafter, and a balloon payment of the principal balance on or around August 22, 2016.

         31.    Upon information and belief, the Debtor used a portion of the US Claims Funds to
  pay the down payment of $7,000.00 on the Columbus County Property purchase (the “Columbus
  County Down Payment Transfer”).

         32.     The Columbus County Down Payment Transfer was not made in the ordinary
  course of the Debtor’s business or financial affairs.

        33.     In approximately October 2015, the Debtor entered into an agreement (the
  “Columbus County Lease”) to lease the Columbus County Property to a third party for $825.00
  per month (the “Columbus County Rental Income”).




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         34.     Upon information and belief, the Debtor intended to use income to be received
  from the rental of the Columbus County Property to satisfy the monthly payments related to the
  purchase of the Columbus County Property.

         35.    Upon information and belief, the Debtor intended to use a portion of the
  Settlement Proceeds to satisfy the balloon payment related to the purchase of the Columbus
  County Property.

         36.    On September 17, 2015, the Debtor entered into a contract with Richard and
  Sharon Starkey to purchase real estate located in Bladen County, North Carolina for $72,000.00
  (the “Bladen County Property,” and collectively with the Columbus County Property “the
  Properties”).

         37.     Upon information and belief, the Debtor intended to use the Bladen County
  Property as a source of rental income.

          38.     The Debtor’s purchase of the Bladen County Property was owner financed and
  required from the Debtor a down payment of $10,000.00, monthly payments of $600.00
  thereafter, and a balloon payment of the principal balance on or before April 14, 2016.

         39.     Upon information and belief, the Debtor did not pay the down payment of
  $10,000.00. However, upon information and belief, the Debtor informed Richard and Sharon
  Starkey that she intended to use a portion of the Settlement Proceeds to satisfy the down payment
  and balloon payment and that the Debtor expected to receive the Settlement Proceeds prior to
  April 14, 2016.

         40.    Upon information and belief, Richard and Sharon Starkey agreed to allow the
  Debtor to take possession of the Bladen County Property and fulfill her obligations under the
  purchase contract upon assurances from the Debtor that they would receive monthly payments of
  $600.00 and that the principal balance would be paid on or before April 14, 2016.

          41.   In approximately October 2015, the Debtor entered into an agreement (the
  “Bladen County Lease,” and collectively with the Columbus County Lease, the “Leases”) to
  lease the Bladen County Property to a third party for $750.00 per month (the “Bladen County
  Rental Income,” and collectively with the Columbus County Rental Income, the “Rental
  Income”).

         42.    Upon information and belief, the Debtor intended to use rental income to satisfy
  the monthly payments related to the purchase of the Bladen County Property.

        43.    The Properties, the SCCU Account, the Leases and the right to receive rental
  income pursuant to the Leases were interests of the Debtor in property as of the Petition Date.

                            False Statements and Concealed Property

          44.    On January 7, 2016, the Debtor filed with the Bankruptcy Court her voluntary
  petition under Chapter 7 of the Bankruptcy Code commencing this case.


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         45.     The Debtor filed with the Bankruptcy Court her Schedules and Statement of
  Financial Affairs with her bankruptcy petition.

         46.     The Debtor signed her Schedules under penalty of perjury declaring that “[u]nder
  penalty of perjury, I declare that I have read the summary and schedules filed with this
  declaration and that they are true and correct.”

          47.     The Debtor signed her Statement of Financial Affairs under penalty of perjury
  stating that “I have read the answers on this Statement of Financial Affairs and any attachments,
  and I declare under penalty of perjury that the answers are true and correct.”

         48.      The Product Liability Claim, the Civil Action, the Settlement Proceeds, the
  Properties, the contracts to purchase the Properties, the Leases, the right to receive rental income
  pursuant to the Leases, the Rental Income, the SCCU Account, the US Claims Transfer, and the
  Columbus County Down Payment Transfer were required to be disclosed in the Debtor’s
  Schedules and/or Statement of Financial Affairs.

          49.   The Debtor falsely failed to disclose in her Schedules, Statement of Financial
  Affairs and at her Chapter 7 § 341 meeting, her interest in and the existence of the Product
  Liability Claim, the Civil Action, the Settlement Proceeds, the Properties, the contracts to
  purchase the Properties, the Leases, the right to receive rental income pursuant to the Leases, the
  Rental Income, the SCCU Account, the US Claims Transfer, and the Columbus County Down
  Payment Transfer.

                                              Schedules

          50.      On Question 1 of the Debtor’s Schedule A/B, when asked “Do you own or have
  any legal or equitable interest in any residence, building, land, or similar property,” the Debtor
  disclosed only her interest in real property located in Chadbourn, North Carolina. The Debtor
  falsely failed to disclose the existence of or her interest in the Properties.

         51.     On Question 17 of the Debtor’s Schedule A/B, when asked “Do you own or have
  any legal or equitable interest in … Deposits of money,” the Debtor disclosed only her interest in
  an account held at State Employees Credit Union. The Debtor falsely failed to disclose the
  existence of or her interest in the SCCU Account.

          52.    On Question 30 of the Debtor’s Schedule A/B, when asked, “Do you own or have
  any legal or equitable interest in … Other amounts someone owes you,” the Debtor answered
  “No.” The Debtor falsely failed to disclose the existence of or her interest in the Product
  Liability Claim and the Settlement Proceeds.

         53.     On Question 33 of the Debtor’s Schedule A/B, when asked: “Do you own or have
  any legal or equitable interest in … Claims against third parties, whether or not you have filed a
  lawsuit or made a demand for payment,” the Debtor answered “No.” The Debtor falsely failed to
  disclose the existence of or her interest in the Product Liability Claim and the Settlement
  Proceeds.



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         54.    On Question 34 of the Debtor’s Schedule A/B, when asked, “Do you own or have
  any legal or equitable interest in … Other contingent and unliquidated claims of every nature
  including counterclaims of the debtor and rights to set off claims,” the Debtor answered “No.”
  The Debtor falsely failed to disclose the existence of or her interest in the Product Liability
  Claim and the Settlement Proceeds.

         55.    On Question 35 of the Debtor’s Schedule A/B, when asked, “Do you own or have
  any legal or equitable interest in … Any financial assets you did not already list,” the Debtor
  answered “No.” The Debtor falsely failed to disclose the existence of or her interest in the
  SCCU Account, the Product Liability Claim and the Settlement Proceeds.

         56.    On Question 37 of the Debtor’s Schedule A/B, when asked, “Do you own or have
  any legal or equitable interest in any business-related property,” the Debtor falsely answered
  “No” notwithstanding her interest in the Properties as a source of the Rental Income.

          57.     The Debtor did not answer Question 44 of the Debtor’s Schedule A/B which
  asked her to list “Any business-related property you did not already list.” The Debtor falsely
  failed to disclose the existence of or her interest in the Properties, the Leases, and the right to
  receive rental income pursuant to the Leases.

         58.    The Product Liability Claim, the Settlement Proceeds, the Properties, the SCCU
  Account, the Leases and the right to receive rental income pursuant to the Leases were interests
  of the Debtor in property as of the Petition Date and were required to be disclosed in her
  Schedule A/B.

          59.   On the Petition Date the following entities were creditors of the Debtor that the
  Debtor was required to disclose on her Schedule D and/or Schedule E/F: the Aylstock Firm, the
  Ferrer Firm, US Claims, Brian and Gina Browning, and Richard and Sharon Starkey.

         60.      On Schedule D and/or Schedule E/F, the Debtor was required to disclose all of
  her creditors, but the Debtor falsely failed to disclose on those schedules the following claims
  and creditors against her: the claims of the Aylstock Firm, the Ferrer Firm, US Claims, Brian
  and Gina Browning, and Richard and Sharon Starkey.

         61.    The Leases and the contracts to purchase the Properties were executory contracts
  and/or unexpired leases and were required to be disclosed in the Debtor’s Schedule G.

          62.   On Question 2 of the Debtor’s Schedule G, when asked to list all executory
  contracts and unexpired leases, the Debtor disclosed only a cell phone contract with Verizon
  Wireless. The Debtor falsely failed to disclose the contracts to purchase the Properties and the
  Leases.

          63.    The Rental Income was income regularly received by the Debtor and was required
  to be disclosed in the Debtor’s Schedule I.

          64.    On Question 8a of the Debtor’s Schedule I, when asked to list “net income from
  rental property and from operating a business, profession, or farm,” the Debtor answered “0.00.”
  The Debtor falsely failed to disclose the Rental Income.

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        65.     On Question 8h of the Debtor’s Schedule I, when asked to list “other monthly
  income,” the Debtor answered “0.00.” The Debtor falsely failed to disclose the Rental Income.

                                   Statement of Financial Affairs

         66.     The Rental Income is income from operating a business during the two previous
  calendar years and was required to be disclosed in the Debtor’s Statement of Financial Affairs.

         67.    On her Statement of Financial Affairs in response to question #4 in which the
  Debtor was asked whether she had any “income from employment or from operating a business
  during this year or the two previous calendar years,” the Debtor disclosed only $4,000.00 in
  wages. The Debtor falsely failed to disclose the Rental Income.

         68.     The Debtor was a party in the Civil Action within 1 year prior the Petition Date
  and therefore, the Civil Action was required to be disclosed in the Debtor’s Statement of
  Financial Affairs.

          69.     On her Statement of Financial Affairs in response to question #9 in which the
  Debtor was asked whether “within 1 year before you filed for bankruptcy, were you a party in
  any lawsuit, court action, or administrative proceeding,” the Debtor disclosed only a lawsuit filed
  by Ronnie Williams in which the Debtor had been named a defendant. The Debtor falsely failed
  to disclose the Civil Action.

         70.     The US Claims Transfer and the Columbus County Down Payment Transfer were
  made within two years prior to the Petition Date and were not made in the ordinary course of the
  Debtor’s business or financial affairs and therefore, the US Claims Transfer and the Columbus
  County Down Payment Transfer were required to be disclosed in the Debtor’s Statement of
  Financial Affairs.

         71.     On her Statement of Financial Affairs in response to question #18 in which the
  Debtor was asked whether “within 2 years before you filed for bankruptcy, did you sell, trade, or
  otherwise transfer any property to anyone, other than property transferred in the ordinary course
  of your business or financial affairs,” the Debtor responded “No.” The Debtor falsely failed to
  disclose the US Claims Transfer and/or the Columbus County Down Payment Transfer.

                                      Chapter 7 § 341 Meeting

         72.      On February 3, 2016, the Debtor attended her Chapter 7 § 341 meeting.

         73.     At the § 341 meeting, the Debtor was given by the Trustee a questionnaire which
  asked and instructed the Debtor to answer the following questions under oath and penalty of
  perjury to which the Debtor responded, “no”:

               a. Question No. 4: “Have you ever filed bankruptcy before this case? If yes, where,
                  when and what chapter?”

               b. Question No. 5: “Is there anyone you may have owed money to on the date your
                  case was filed who is not listed in your bankruptcy schedules?”

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             c. Question 6: “Is there anything that you owned or may have had a claim to
                ownership in on the date your case was filed that is not listed in you bankruptcy
                schedules?

             d. Question 7: “Is there anything that you have or may have had an interest in,
                whether realized or not, on the date your case was filed that is not listed in your
                bankruptcy schedules?”

             e. Question 9: “Did you acquire any property or any interest in any property within
                the 90 days prior to the date your case was filed?”

             f. Question 11: “Is there anything you own or have an interest in that is not in your
                possession?”

             g. Question 12: “Does anyone owe you money or do you feel you may have a claim
                against anyone that is not listed in your bankruptcy schedules?”

             h. Question 18: “Did you sell, give or otherwise transfer anything of value in excess
                of $1,000 to anyone within four years prior to the date your case was filed (except
                for trading in a car to a dealer)?”

             i. Question 19: “Are you involved in a lawsuit, or do you feel that you have any
                basis for filing a lawsuit against anyone?”

         74.     A copy of the Trustee’s § 341 questionnaire filled out and signed by the Debtor
  under penalty of perjury is attached hereto as EXHIBIT G.

         75.      The Product Liability Claim, the Civil Action, the Settlement Proceeds, the
  Properties, the contracts to purchase the Properties, the Leases, the right to receive rental income
  pursuant to the Leases, the Rental Income, the SCCU Account, the US Claims Transfer, and the
  Columbus County Down Payment Transfer were required to be disclosed at the § 341 meeting in
  response to the Trustee’s questionnaire.

         76.      On February 9, 2016, the Debtor filed an amended Schedule A/B and amended
  Schedule C-1. The Product Liability Claim, the Civil Action, the Settlement Proceeds, the
  Properties, the contracts to purchase the Properties, the Leases, the right to receive rental income
  pursuant to the Leases, the Rental Income, the SCCU Account, the US Claims Transfer, and the
  Columbus County Down Payment Transfer were not disclosed in the Debtor’s amended
  schedules.

          77.    Based on the Debtor’s representations in her Schedules, Statement of Financial
  Affairs and at the § 341 meeting as set forth above, the Trustee determined the case to be a “no
  asset case” and the Trustee filed a Report of No Distribution on February 11, 2016.

         78.     On April 1, 2016 and within two months following the § 341 meeting, the Debtor
  faxed a letter and copies of the contracts to purchase the Properties to the Aylstock Firm
  requesting that Aylstock Firm send her the Settlement Proceeds “ASAP” to facilitate the


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 purchase of the Properties. A copy of a letter dated April 1, 2016 from the Debtor to the
 Aylstock Firm requesting the Settlement Proceeds is attached hereto as EXHIBIT H.

         79.    On April 6, 2016, the Court entered in this case the order discharging the Debtor.

         80.    On April 7, 2016, the Court entered the final decree in and thereby closing this
 case.

         81.    In November 2016, an attorney assisting the Aylstock Firm in managing its cases
 contacted the Trustee to inform him about the Civil Action and Settlement Proceeds and to
 inquire as to whether the bankruptcy estate had an interest in the Settlement Proceeds.

        82.     Prior to November 2016, the Trustee was not aware of the Debtor’s or the
 bankruptcy estate’s interest in or the Debtor’s failure to disclose the Product Liability Claim, the
 Civil Action, the Settlement Proceeds, the Properties, the contracts to purchase the Properties,
 the Leases, the right to receive rental income pursuant to the Leases, the Rental Income, the
 SCCU Account, the US Claims Transfer, and the Columbus County Down Payment Transfer.

         83.    On November 28, 2016 the Trustee filed a motion for the Court to reopen this
 case in order to enable the Trustee to administer the Product Liability Claim as an asset of the
 estate, and on December 1, 2016 the Court entered an order reopening the case and reinstating
 the Trustee.

         84.    On February 2, 2017, the Court entered an order directing the Debtor to attend a
 Bankruptcy Rule 2004 examination in order to enable the Trustee to examine the Debtor
 regarding the Product Liability Claim, the Civil Action, the Settlement Proceeds, the Properties,
 and any other matter related to the acts, conduct, property, and/or liabilities or financial condition
 of the Debtor or any matter which may affect the administration of the estate.

        85.     The Debtor attended the 2004 examination which was held at the Trustee’s office
 on February 24, 2017. Aside from answering at the 2004 examination a few preliminary
 questions regarding the Debtor’s name and other identification information, the Debtor answered
 each question by stating “I invoke my Fifth Amendment privilege against self-incrimination.”

                                 FIRST CLAIM FOR RELIEF
                        (Revocation of Discharge – 11 U.S.C. § 727(d)(1))

         86.     The allegations set forth in paragraphs 1 through 85 above are realleged as if fully
 set forth herein.

         87.    By failing to disclose and denying the existence of the Product Liability Claim,
 the Civil Action, the Settlement Program, the Settlement Proceeds, the Properties and the
 contracts to purchase the Properties, the Leases, the right to receive rental income pursuant to the
 Leases, the Rental Income, the US Claims Transfer, the Columbus County Down Payment
 Transfer, the SCCU Account and/or certain creditors, all as alleged above, (the “False
 Statements”), the Debtor made false statements in her Schedules and Statement of Financial
 Affairs which were signed under penalty of perjury and filed with the Bankruptcy Court, in the


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 Questionnaire signed under penalty of perjury and delivered to the Chapter 7 Trustee at the § 341
 meeting, and in her sworn testimony at the § 341 meeting.

        88.    The False Statements were false.

        89.    The False Statements were made under oath and penalty of perjury.

        90.    The Debtor knew the False Statements were false.

        91.    The Debtor made the False Statements with a reckless disregard for the truth.

        92.    The Debtor made the False Statements with fraudulent intent.

          93.    The Debtor made the False Statements with the purpose and intent to deceive, and
 in fact, deceived the Trustee.

         94.    The Debtor made the False Statements with the intent to hinder, delay, or defraud
 a creditor and/or the Trustee.

        95.    The False Statements constitute false statements of material fact and false
 concealments of facts upon which the Debtor was under a duty to disclose.

        96.     The False Statements constitute concealments of property of the Debtor within
 one year before the date of the filing of the petition.

         97.      The False Statements constitute concealments of property of the estate after the
 date of the filing of the petition.

        98.    The Trustee actually relied on the False Statements. Specifically, if the Trustee
 had known of the Debtor’s concealments or that the Debtor’s statements were false he would
 have requested that the Debtor’s discharge be denied.

        99.    The Trustee’s reliance on the False Statements was reasonable.

        100. The False Statements would have constituted grounds for denial of the Debtor’s
 discharge pursuant to 11 U.S.C. § 727(a)(4)(A).

        101. The False Statements and the Debtor’s failure to disclose the property related to
 the False Statements would have constituted grounds for denial of the Debtor’s discharge
 pursuant to 11 U.S.C. § 727(a)(2).

        102. Subsequent to the granting of the discharge, in November 2016 when he was
 contacted by an attorney retained by the Aylstock Firm who informed the Trustee about the Civil
 Action and the Settlement Proceeds, the Trustee for the first time discovered that the False
 Statements were false.

        103. For the foregoing reasons, the Debtor’s discharge has been obtained by fraud
 should be revoked pursuant to 11 U.S.C. § 727(d)(1).


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                             SECOND CLAIM FOR RELIEF
                      (Revocation of Discharge – 11 U.S.C. § 727(d)(2))

         104. The allegations set forth in paragraphs 1 through 103 above are realleged as if
 fully set forth herein.

        105. The Product Liability Claim, the Civil Action, the Settlement Proceeds, the
 Properties, the SCCU Account, the Leases and/or the right to receive rental income pursuant to
 the Leases constitute interests in property of the bankruptcy estate.

        106. The Debtor concealed and maintained control of the Product Liability Claim, the
 Civil Action, the Settlement Proceeds, the Properties, the SCCU Account, the Leases and the
 right to receive rental income pursuant to the Leases from the Petition Date through
 approximately November 2016 when the Trustee initially discovered that the False Statements
 were false.

         107. The Debtor’s concealment and maintenance of control over the Product Liability
 Claim, the Civil Action, the Settlement Proceeds, the Properties, the SCCU Account, the Leases,
 the right to receive rental income pursuant to the Leases, and the post-petition Rental Income
 constitute the Debtor’s acquisition of property of the estate within the meaning of 11 U.S.C. §
 727(d)(2).

         108. The Debtor knowingly and fraudulently failed to report to the Trustee her
 acquisition of and entitlement to the Product Liability Claim, the Civil Action, the Settlement
 Proceeds, the Properties, the SCCU Account, the Leases, the right to receive rental income
 pursuant to the Leases, and post-petition Rental Income.

        109. For the foregoing reasons, the Debtor’s discharge should be revoked pursuant to
 11 U.S.C. § 727(d)(2).

        WHEREFORE, the Plaintiff requests that judgment be entered in his favor on behalf of
 the bankruptcy estate against the Defendant:

        1.     Revoking the Debtor’s discharge pursuant to 11 U.S.C. § 727(d)(1) and (d)(2);

        2.     For the costs of this action; and

        3.     For such other and further relief as the Court deems just and proper.

                                                        BUTLER & BUTLER, L.L.P.
        DATED: March 28, 2017
                                                        s/ Hunter E. Fritz
                                                        Hunter E. Fritz
                                                        NC State Bar No. 46040
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